              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Case No. 20-CV-954

FARHAD AZIMA,

       Plaintiff,
                                                  PLAINTIFF’S
       v.                                        MOTION TO SEAL

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.

      Plaintiff Farhad Azima respectfully moves this Court to file under seal

the document currently filed as ECF No. 201-1, which is Exhibit 1 to Plaintiff’s

Response in Opposition to the Motion to Quash filed by Defendants as to the

subpoena issued to First Citizens Bank (ECF No. 196). The grounds for this

motion are set forth in the memorandum in support of the motion filed

contemporaneously herewith. To the extent the Court determines that this

document or any portion of it should not be sealed, Plaintiff requests a

reasonable time in which to Plaintiff or Defendants may attempt to redact any

portion of this document that may be appropriately redacted.


      Attached hereto is a corrected version of the Exhibit to Plaintiff’s

Response in Opposition to the Motion to Quash.




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This, the 17th day of April, 2023.

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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 20-CV-954


FARHAD AZIMA,

      Plaintiff,

      v.
                                            CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.



      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Notice to the following attorneys:

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This, the 17th day of April, 2023.

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